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US. DISTRICT COURT ND. OF My
FILED

 

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT CqyRTtt 26 2021

 

 

 

 

 

 

(Supplied by Clerk of Court)

for the
ar O'CLOCK
ohn M. Domurad, Clerk - Albany
a

y
)
Anthony Buchanon
Petitioner ;

w ; Case No.

)
)
)

Acting Warden Kodger
Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your fullname: Anthony Buchanon a
(b) Other names you have used:
2. Place of confinement:
(a) Name of institution: FCI Fort Dix -
(b) Address: P.O Box 2000, Joint Base MDL, NJ 08640

 

 

 

(c) Your identification number: 05722052
3. Are you currently being held on orders by:
I Federal authorities C1 State authorities ( Other - explain:

 

 

4. Ate you currently:
CA pretrial detainee (waiting for trial on criminal charges)
Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime

If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you: Northern District Court of NY _—

 

 

(b) Docket number of criminal case:

(c) Date of sentencing: November 2nd, 2002
Being held on an immigration charge .
Other (explain): ee

 

Decision or Action You Are Challenging

5. What are you challenging in this petition:
& How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,

revocation or calculation of good time credits)

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OPretrial detention

Olmmigration detention

& Detainer

& The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

 

 

 

 

 

O Disciplinary proceedings
4 Other (explain): Probation violation as a Category C, not a Category A, 20
years ago. _
6. Provide more information about the decision or action you are challenging: : -

(a) Name and location of the agency or court: Northern District of NY, Judge Scullin Jr

 

(b) Docket number, case number, or opinion number: State prison has all my property.

(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):
I am challenging how my sentence is being carried out & calculated, also the ;

validity of conviction or sentence imposed, as well as the detainer.

 

 

(d) Date of the decision or action:

 

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
OYes No

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

 

(2) Date of filing:
(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

 

 

 

 

(6) Issues raised:

 

 

 

(b) If you answered “No,” explain why you did not appeal: I did not appeal because I
_thought the violation would run concurrently.

 

 

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court? .
OYes KINo

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10.

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did. not file a second appeal:

_ Because no first appeal was filed.

 

 

 

Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
OYes No
(a) If “Yes,” provide:

(1) Name of the authority, agency, or court:

(2) Date of filing:
(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a third appeal:

 

No second appeal was filed. _ _

 

‘Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

Yes ONo

Hf “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes & No

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11.

If “Yes,” provide:
(1) Name of court: _

 

(2) Case number:

 

 

(3) Date of filing:

 

(4) Result: _
(5) Date of result:

 

 

(6) Issues raised:

 

 

 

 

 

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or

sentence?

Yes

If “Yes,” provide:
(1) Name of court:
(2) Case number: -

(3) Date of filing:
(4) Result:

No

 

 

 

 

(5) Date of result:

 

(6) Issues raised:

 

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your

conviction or sentence:

this writ for the relief I seek.

Because the instructions for this writ explain to use

 

 

Appeals of immigration proceedings
Does this case concern immigration proceedings?

 

 

Yes AINo
If “Yes,” provide:

(a) Date you were taken into immigration custody:

(b) Date of the removal or reinstatement order:

(c) Did you file an appeal with the Board of Immigration Appeals?
(1 Yes O1No

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If “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:
(4) Date of result:
(5) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
O Yes ONo
If “Yes,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:
(6) Issues raised:

 

 

 

 

 

12, Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?

Yes No

If “Yes,” provide:

(a) Kind of petition, motion, or application:
(b) Name of the authority, agency, or court:

 

 

 

 

(c) Date of filing:
(d) Docket number, case number, or-opinion number:
(e) Result: =
(f) Date of result: _
(g) Issues raised:

 

 

 

 

 

 

 

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Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: In 2016 I filed a 440 motion and won the appeal, which

 

dropped one of my charges, reducing my time to 23 years flat for the state

charges.

 

 

(a) Supporting facts (Be brief, Do not cite cases or law.):

My original state sentences of 28 years to life put my in violation of my
federal probation as a Category A. When I won my appeal, my sentence was _-

reduced to 23 years flat, which puts me_as a Category C violation, which.

should be run concurrent with the state time I did.

 

 

(b) Did you present Ground One in all appeals that were available to you?
Yes OWNo

GROUND TWo:

 

 

 

 

 

 

 

 

 

 

 

(b) Did you present Ground Two in all appeals that were available to you?
Yes CINo

GROUND THREE:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
Yes C1No

 

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GROUND FOUR:

 

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?

Yes CINo
14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not:

 

 

 

Request for Relief

15. State exactly what you want the court todo: I respectfully ask this Court to correct this

____illegal sentence and_illegal detainer. I respectfully request this Court to :
run this time concurrent with the time I have already done, and order my
immediate release, and/or any other relief this Court sees fit. a

 

 

 

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Declaration Under Penalty Of Perjury
If you are incarcerated, on what date did you place this petition in the prison mail system:
7/90/Al _
f #
I declare under penalty of perjury that | am the petitioner, I have read this petition or had it read to me, and the

information in this petition is true and correct. | understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date: Theo __ _f) alathway Auch, ON

Signature of Petitioner

Sworn to and subscribed

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